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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

RICHMOND DIVISION on ROUSE

KEITH ENROUGHTY,

Plaintiffs,
CASE NO: 3:12cv871-JAG

VS.

COLONIAL COURT APARTMENTS, INC.,

Defendant.
/

AGREED ORDER DISMISSING CASE WITH PREJUDICE
The parties in this case have reported to the Court that they have settled the plaintiff's
claims against the defendant. The parties have requested that this Court retain jurisdiction for
purposes of enforcing the settlement agreement entered into between the parties. Except as set
forth in the settlement agreement, the parties will bear their own attorneys’ fees and costs.

It appearing to the Court that the parties have settled their differences, it is ORDERED

/s/ (bef

John A. Gibney, 4. 7_/
United StaldnltetgStates District Judge

that this matter is DISMISSED WITH PREJUDICE.

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